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F“»ED B"' faa °'°' IN THE uNlTED sTATEs DISTRICT COURT F“HD' E`““g&§`~°'°'
- FoR THE wEsTERN DISTRICT oF TENNESSEE .
05 JuL ‘9 " l" 39 WESTERN DIvIsIoN 2535 JUL '8 FH 2' 03
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CLEH<, ' T ct a . . asset " eat
w)M'HEEAMTES OF AMERICA E*ti`©%@$f ti;, 'bi§
' Plaimiff
vs
TRACY CAMPBELL
Defendant.
MoTIoN To CONTIN t

 

 

COMES NOW, the Defendant Tracy Campbell in the above cause by and through
the undersigned Sa.muel L. Perkins and would move this Honorable Court for an order of
continuing the report date of Friday, July 22, 2005, at 9:OOa.m.and for cause would show
unto this Honorable Court as follows:

l. The Defendant’s counsel Will be out of town from Wednesday July 20, 2005 to
Sunday July 24, 2005 and would therefore request this Honorable Court to
continue the report date.

2. AUSA STEPHEN HALL does not object to a continuance in this matter.

3. Defendant does not object to the time being excluded to Speedy Trial Act.

WHEREF()RE PREMISES CONSIDERED, the Defendant Tracy Campbell
would respectfully move this Honorable Court for an order continuing the Report date.

/,,;4@%1

sAMUEL L. PE!RKINS #11857
147 Jefferson Ste. 804
Mernphis, TN 38103

(901) 523-3332

 

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CERTIFICATE OF CONSULTATION

COMES NOW, SAMULEL L. PERKINS, counsel for the defendant, and
advises the Court that he conferred with opposing counsel Ste en Hall, Assistant
United States Attorney, regarding Defendant’ Motion t C

nue. AUS Stejw all
does not oppose this motion @M%

sAMUEL L. PERKINS

 
    

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the foregoing was hand delivered OR
delivered via U.S. Mail, postage prepaid, to Stephen Hall, Assistant United States
Attomey 167 North Main, Memphis, TN 38103, this 15th d of July, 2005.

sAMUEL 11 PERKINs

   

     

UNITED sTATE DRISTIC COUR - WTERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:04-CR-20482 was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

Sarnuel L. Perkins

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147 Jefferson Ave.

Ste. 804

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Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

